                 UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF WISCONSIN
                        GREEN BAY DIVISION
________________________________________________________________________

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,

             Plaintiff,
                                          CASE NO. 17-CV-00070
vs.

WAL-MART STORES EAST, LP,

             Defendant.


                DECLARATION OF MONICA MURPHY
________________________________________________________________________

I, Monica Murphy, declare as follows:

1.    I am an attorney at Disability Rights Wisconsin and an adult resident of

the State of Wisconsin. I make this Declaration based upon my personal

knowledge.

2.    In the years since the EEOC filed the above-captioned case, I have

represented six Wisconsin residents with disabilities who experienced

varying degrees of discrimination and difficulties because of disability when

the Walmart stores where they worked transitioned to a computerized

schedule system which impacted their shifts.

3.    I represented two employees with disabilities from central Wisconsin

who had worked at Walmart for 16 years when their store’s transition to a



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computerized scheduling system required them to switch from schedules with

reduced hours and part time shifts to working eight-hour shifts. Walmart

took these employees off work when they explained their inability to work

eight-hour shifts. We filed and settled their claims at the Wisconsin Equal

Rights Division. These two employees never returned to work.

4.    I currently represent another client with a disability in a case pending

at Wisconsin’s Equal Rights Division who was terminated by Walmart after

11 years for what Walmart called excessive absenteeism based on her

difficulties adhering to her new schedule after her store’s implementation of a

computerized scheduling system.

5.    I counseled one client with a disability whose previously predictable

and routine schedule changed to such sporadic shifts, with such decreased

hours after Walmart implemented a computerized scheduling system, that

she left Walmart for better employment.

6.    I represented another client with a disability who previously had

worked four-hour shifts at her Walmart. When her store implemented a

computerized scheduling system, her new schedule required eight-hour

shifts. When she requested an accommodation, she was put on unpaid leave

for twelve weeks and told to seek a new position within her restrictions.

Ultimately, Walmart worked out an accommodated schedule with us.

However, those twelve weeks of unpaid leave caused unnecessary hardship.


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7.   I represented another Walmart employee from central Wisconsin with

a disability whose schedule was changed from part-time shifts to eight-hour

shifts when her store implemented a computerized scheduling system. She

submitted her request for accommodation to Walmart’s Accommodations

Service Center and was denied a schedule accommodation and taken off

work. She appealed Walmart’s accommodation denial and was ultimately

accommodated after six months off work. The six months of unpaid leave

caused unnecessary hardship.



     I declare under penalty of perjury that the foregoing is true and correct.

                                    Executed on October 15, 2021.


                                    /s/_
                                    Monica Murphy




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